           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 1 of 33




1

2

3

4

5

6
                              UNITED STATES DISTRICT COURT
7
                             WESTERN DISTRICT OF WASHINGTON
8                                      AT SEATTLE

9    STEVEN MADSEN and DIANA
     MADSEN, Husband and Wife,                       No.
10
                                    Plaintiff,       COMPLAINT FOR DAMAGES
11

12          v.                                       JURY DEMAND

13   MONSANTO COMPANY,
14                               Defendants.
15

16
            COMES NOW Plaintiffs, Steven Madsen and Diana Madsen, husband and wife,
17
     through their attorneys of record, Schroeter, Goldmark & Bender, PS, and Sims Weymuller
18
     and Elizabeth McLafferty, for causes of action against the above-named Defendant, and
19

20   hereby allege as follows:

21                                         I.    PARTIES

22   Plaintiff
23          1.1.    Plaintiffs reside in Black Diamond, Washington. On information and belief,
24
     plaintiff Steven Madsen was exposed to Roundup® containing the active ingredient
25
     glyphosate and the surfactant polyethoxylated tallow amine (“POEA”) in Washington around
26
     mid-1970s to present.


                                                        SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES             1                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                  Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 2 of 33




1            1.2.    As a direct and proximate result of long-term exposure to Roundup®, plaintiff

2    Steven Madsen was diagnosed with a subtype of T cell lymphoma, anaplastic large cell
3
     lymphoma, ALK positive, non-Hodgkin’s lymphoma in or around June 28, 2017.
4
     Defendants
5
             1.3.    Defendant Monsanto Company (“Monsanto”) is a Delaware corporation with
6
     its headquarters in St. Louis, Missouri.
7

8            1.4.    Defendant advertises and sells goods, specifically Roundup®, in the State of

9    Washington.
10           1.5.    Defendant transacted and conducted business within the State of Washington
11
     that relates to the allegations in this complaint.
12
             1.6.    Defendant derived substantial revenue from goods and products used in the
13
     State of Washington.
14

15           1.7.    Defendant expected or should have expected its acts to have consequences

16   within the State of Washington.

17           1.8.    Defendant engaged in the business of designing, developing, manufacturing,
18   testing, packaging, marketing, distributing, labeling, and/or selling Roundup®.
19
                                 II.   JURISDICTION AND VENUE
20
             2.1.    This Court has jurisdiction over Defendants and this action pursuant to 28
21
     U.S.C. § 1332 because the amount in controversy exceeds $75,000, exclusive of interest and
22
     costs and, because there is complete diversity of citizenship between Plaintiff and Defendant.
23

24           2.2.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391; at all times

25   material, plaintiff was a resident of Washington State and Defendants at all times material
26   transacted business in Washington selling, marketing, and/or distributing Roundup®.



                                                           SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                 2                500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
            Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 3 of 33




1                                                 III.   FACTS

2            3.1.     In 1970, Defendant Monsanto Company discovered the herbicidal properties
3    of glyphosate and began marketing it in products in 1974 under the brand name Roundup ®.
4
     Roundup® is a non-selective herbicide used to kill weeds that commonly compete with the
5
     growing of crops. By 2001, glyphosate had become the most-used active ingredient in
6
     American agriculture with 85–90 millions of pounds used annually. That number grew to 185
7

8    million pounds by 2007.1 As of 2013, glyphosate was the world’s most widely used

9    herbicide.

10           3.2.     Monsanto is a multinational agricultural biotechnology corporation based in
11   St. Louis, Missouri. It is the world's leading producer of glyphosate. As of 2009, Monsanto
12
     was the world’s leading producer of seeds, accounting for 27% of the world seed market.2
13
     The majority of these seeds are of the Roundup Ready® brand. The stated advantage of
14
     Roundup Ready® crops is that they substantially improve a farmer’s ability to control weeds,
15

16   since glyphosate can be sprayed in the fields during the growing season without harming

17   their crops. In 2010, an estimated 70% of corn and cotton, and 90% of soybean fields in the

18   United States were Roundup Ready®.3
19

20

21

22
     1
23     Arthur Grube et al., U.S. Envtl. Prot. Agency, Pesticides Industry Sales and Usage, 2006-2007 Market
       Estimates 14 (2011), available at https://www.epa.gov/sites/production/files/2015-
24     10/documents/market_estimates2007.pdf.
     2
       ETC Group, Who Will Control the Green Economy? 22 (2011), available at
25     http://www.etcgroup.org/files/publication/pdf_file/ETC_wwctge_4web_Dec2011.pdf.
     3
       William Neuman & Andrew Pollack, Farmers Cope With Roundup-Resistant Weeds, N.Y.
26     TIMES, May 3, 2010, available at https://www.nytimes.com/2010/05/04/business/energy-
       environment/04weed.html?pagewan.




                                                                    SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                    3                      500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                            Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 4 of 33




1            3.3.    Monsanto’s glyphosate products are registered in 130 countries and approved

2    for use on over 100 different crops.4 They are ubiquitous in the environment. Numerous
3
     studies confirm that glyphosate is found in rivers, streams, and groundwater in agricultural
4
     areas where Roundup® is used.5 It has been found in food,6 in the urine of agricultural
5
     workers,7 and even in the urine of urban dwellers that are not in direct contact with
6
     glyphosate.8 On March 20, 2015, the International Agency for Research on Cancer
7

8    (“IARC”), an agency of the World Health Organization (“WHO”), issued an evaluation of

9    several herbicides, including glyphosate. That evaluation was based, in part, on studies of
10   exposures to glyphosate in several countries around the world, and it traces the health
11
     implications from exposure to glyphosate since 2001.
12
             3.4.    On July 29, 2015, IARC issued the formal monograph relating to glyphosate.
13
     In that monograph, the IARC Working Group provides a thorough review of the numerous
14

15   studies and data relating to glyphosate exposure in humans.

16           3.5.    The IARC Working Group classified glyphosate as a Group 2A herbicide,

17   which means that it is probably carcinogenic to humans. The IARC Working Group
18   4
        Monsanto, Backgrounder-History of Monsanto’s Glyphosate Herbicides (Sep. 2, 2015), available at
19     http://www.monsantoglobal.com/global/au/products/pages/roundup.aspx
     5
       See U.S. Geological Survey, USGS Technical Announcement: Widely Used Herbicide Commonly Found in
20     Rain and Streams in the Mississippi River Basin (2011), available at
       https://archive.usgs.gov/archive/sites/www.usgs.gov/newsroom/article.asp-ID=2909.html ; see also U.S.
21     Envtl. Prot. Agency, Technical Factsheet on: Glyphosate, available at
       http://www.epa.gov/safewater/pdfs/factsheets/soc/tech/glyphosa.pdf.
     6
22     Thomas Bohn et al., Compositional Differences in Soybeans on the Market: Glyphosate Accumulates in
       Roundup Ready GM Soybeans, 153 FOOD CHEMISTRY 207 (2013), available at
23     http://www.sciencedirect.com/science/article/pii/S0308814613019201.
     7
       John F. Acquavella et al., Glyphosate Biomonitoring for Farmers and Their Families: Results
24     from the Farm Family Exposure Study, 112(3) ENVTL. HEALTH PERSPECTIVES 321 (2004), available at
       https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1241861/pdf/ehp0112-000321.pdf; Kathryn Z. Guyton et al.,
25     Carcinogenicity of Tetrachlorvinphos, Parathion, Malathion, Diazinon & Glyphosate, 112 IARC Monographs
       76, section 5.4 (2015), available at http://dx.doi.org/10.1016/S1470-2045(15)70134-8.
     8
26     Dirk Brändli & Sandra Reinacher, Herbicides found in Human Urine, 1 ITHAKA JOURNAL
       270 (2012), available at http://www.ithaka-journal.net/druckversionen/e052012-herbicides-urine.pdf.




                                                                SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                  4                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
              Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 5 of 33




1    concluded that the cancers most associated with glyphosate exposure are non-Hodgkin’s

2    lymphoma and other hematopoietic cancers, including lymphocytic lymphoma/chronic
3
     lymphocytic leukemia, B-cell lymphoma, and multiple myeloma. 9
4
                3.6.     The IARC evaluation is significant. It confirms what has been believed for
5
     years: that glyphosate is toxic to humans.
6
                3.7.     Nevertheless, Monsanto, since it began selling Roundup®, has represented it
7

8    as safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and

9    continues to proclaim to the world, and particularly to United States consumers, that
10   glyphosate-based herbicides, including Roundup®, create no unreasonable risks to human
11
     health or to the environment.
12
     Registration of Herbicides under Federal Law
13
                3.8.     The manufacture, formulation, and distribution of herbicides, such as
14

15   Roundup®, are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act

16   (“FIFRA” or “Act”), 7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered

17   with the Environmental Protection Agency (“EPA”) prior to their distribution, sale, or use,
18   except as described by the Act. 7 U.S.C. § 136a(a).
19
                3.9.     Because pesticides are toxic to plants, animals, and humans, at least to some
20
     degree, the EPA requires as part of the registration process, among other things, a variety of
21
     tests to evaluate the potential for exposure to pesticides, toxicity to people and other potential
22

23   non-target organisms, and other adverse effects on the environment. Registration by the EPA,

24   however, is not an assurance or finding of safety. The determination the EPA must make in

25
     9
26       See Guyton et al., Carcinogenicity of Tetrachlorvinphos, Parathion, Malathion, Diazinon &
         Glyphosate, supra.




                                                                     SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                      5                     500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                             Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 6 of 33




1    registering or re-registering a product is not that the product is “safe,” but rather that use of

2    the product in accordance with its label directions “will not generally cause unreasonable
3
     adverse effects on the environment.” 7 U.S.C. § 136a(c)(5)(D).
4
            3.10.   FIFRA defines “unreasonable adverse effects on the environment” to mean
5
     “any unreasonable risk to man or the environment, taking into account the economic, social,
6
     and environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA
7

8    thus requires the EPA to make a risk/benefit analysis in determining whether a registration

9    should be granted or allowed to continue to be sold in commerce.
10          3.11.   The EPA and the State of Washington registered Roundup® for distribution,
11
     sale, and manufacture in the United States and the State of Washington.
12
            3.12.   FIFRA generally requires that the registrant, Monsanto in the case of
13
     Roundup®, conduct the health and safety testing of pesticide products. The EPA has
14

15   protocols governing the conduct of tests required for registration and the laboratory practices

16   that must be followed in conducting these tests. The data produced by the registrant must be

17   submitted to the EPA for review and evaluation. The government is not required, nor is it
18   able, however, to perform the product tests that are required of the manufacturer.
19
            3.13.   The evaluation of each pesticide product distributed, sold, or manufactured is
20
     completed at the time the product is initially registered. The data necessary for registration of
21
     a pesticide has changed over time. The EPA is now in the process of re-evaluating all
22

23   pesticide products through a Congressionally-mandated process called “re-registration.” 7

24   U.S.C. § 136a-1. In order to reevaluate these pesticides, the EPA is demanding the

25   completion of additional tests and the submission of data for the EPA’s review and
26
     evaluation.



                                                            SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES               6                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                    Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 7 of 33




1           3.14.    In the case of glyphosate, and therefore Roundup®, the EPA had planned on

2    releasing its preliminary risk assessment —in relation to the registration process – no later
3
     than July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed
4
     releasing the risk assessment pending further review in light of the WHO’s health-related
5
     findings.
6
     Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup®
7

8           3.15.    Based on early studies showing that glyphosate could cause cancer in

9    laboratory animals, the EPA originally classified glyphosate as possibly carcinogenic to
10   humans (Group C) in 1985. After pressure from Monsanto, including contrary studies it
11
     provided to the EPA, the EPA changed its classification to evidence of non-carcinogenicity
12
     in humans (Group E) in 1991. In so classifying glyphosate, however, the EPA made clear
13
     that the designation did not mean the chemical does not cause cancer: “It should be
14

15   emphasized, however, that designation of an agent in Group E is based on the available

16   evidence at the time of evaluation and should not be interpreted as a definitive conclusion

17   that the agent will not be a carcinogen under any circumstances.” 10
18          3.16.    On two occasions, the EPA found that the laboratories hired by Monsanto to
19
     test the toxicity of its Roundup® products for registration purposes committed fraud.
20
            3.17.    In the first instance, Monsanto, in seeking initial registration of Roundup ® by
21
     the EPA, hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide
22

23

24

25   10
       U.S. Envtl. Prot. Agency, Memorandum, Subject: SECOND Peer Review of Glyphosate 1 (1991), available at
26    https://archive.org/stream/SecondPeerReviewOfGlyphosateEPAOct301991/Second%20Peer%20Review%20
      of%20Glyphosate%20-%20EPA%20-%20%20Oct%2030,%201991_djvu.txt.




                                                                SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                  7                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 8 of 33




1    toxicology studies relating to Roundup®.11 IBT performed about thirty tests on glyphosate

2    and glyphosate-containing products, including nine of the fifteen residue studies needed to
3
     register Roundup®.
4
             3.18.   In 1976, the United States Food and Drug Administration (“FDA”) performed
5
     an inspection of IBT that revealed discrepancies between the raw data and the final report
6
     relating to the toxicological impacts of glyphosate. The EPA subsequently audited IBT; it too
7

8    found the toxicology studies conducted for the Roundup® herbicide to be invalid. 12 An EPA

9    reviewer stated, after finding “routine falsification of data” at IBT, that it was “hard to
10   believe the scientific integrity of the studies when they said they took specimens of the uterus
11
     from male rabbits.”13
12
             3.19.   Three top executives of IBT were convicted of fraud in 1983.
13
             3.20.   In the second incident of data falsification, Monsanto hired Craven
14

15   Laboratories in 1991 to perform pesticide and herbicide studies, including for Roundup®. In

16   that same year, the owner of Craven Laboratories and three of its employees were indicted,

17

18

19
     11
        Monsanto, Backgrounder, Testing Fraud: IBT and Craven Laboratories (June, 2005), available at
20     https://monsanto.com/app/uploads/2017/06/ibt_craven_bkg.pdf.
     12
        U.S. Envtl. Prot. Agency, Summary of the IBT Review Program Office of Pesticide Programs
21     (1983), available at
       https://nepis.epa.gov/Exe/ZyNET.exe/91014ULV.TXT?ZyActionD=ZyDocument&Client=EPA&Index=1981
22     +Thru+1985&Docs=&Query=&Time=&EndTime=&SearchMethod=1&TocRestrict=n&Toc=&TocEntry=&
       QField=&QFieldYear=&QFieldMonth=&QFieldDay=&IntQFieldOp=0&ExtQFieldOp=0&XmlQuery=&File
23     =D%3A%5Czyfiles%5CIndex%20Data%5C81thru85%5CTxt%5C00000022%5C91014ULV.txt&User=ANO
       NYMOUS&Password=anonymous&SortMethod=h%7C-
24     &MaximumDocuments=1&FuzzyDegree=0&ImageQuality=r75g8/r75g8/x150y150g16/i425&Display=hpfr&
       DefSeekPage=x&SearchBack=ZyActionL&Back=ZyActionS&BackDesc=Results%20page&MaximumPages
25     =1&ZyEntry=1&SeekPage=x&ZyPURL.
     13
        Marie-Monique Robin, The World According to Monsanto: Pollution, Corruption and the Control of the
26     World’s Food Supply (2011) (citing U.S. Envtl. Prot. Agency, Data Validation, Memo from K. Locke,
       Toxicology Branch, to R. Taylor, Registration Branch. Washington, D.C. (August 9, 1978)).




                                                               SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                 8                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                       Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 9 of 33




1    and later convicted, of fraudulent laboratory practices in the testing of pesticides and

2    herbicides. 14
3
             3.21.    Despite the falsity of the tests that underlie its registration, within a few years
4
     of its launch, Monsanto was marketing Roundup® in 115 countries.
5
     The Importance of Roundup® to Monsanto’s Market Dominance Profits
6
             3.22.    The success of Roundup® was key to Monsanto’s continued reputation and
7

8    dominance in the marketplace. Largely due to the success of Roundup ® sales, Monsanto’s

9    agriculture division was out-performing its chemicals division’s operating income, and that
10   gap increased yearly. But with its patent for glyphosate expiring in the United States in the
11
     year 2000, Monsanto needed a strategy to maintain its Roundup® market dominance and to
12
     ward off impending competition.
13
             3.23.    In response, Monsanto began the development and sale of genetically
14

15   engineered Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to

16   glyphosate; farmers can spray Roundup® onto their fields during the growing season without

17   harming the crop. This allowed Monsanto to expand its market for Roundup® even further;
18   by 2000, Monsanto’s biotechnology seeds were planted on more than 80 million acres
19
     worldwide and nearly 70% of American soybeans were planted from Roundup Ready® seeds.
20
     It also secured Monsanto’s dominant share of the glyphosate/Roundup® market through a
21
     marketing strategy that coupled proprietary Roundup Ready® seeds with continued sales of
22

23   its Roundup® herbicide.

24

25
     14
26     Dr. Roger A. Novak, The Long Arm of the Lab Laws, (November, 2001) available at
      https://pubs.acs.org/subscribe/archive/tcaw/10/i11/html/11regs.html.




                                                                SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                  9                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 10 of 33




1           3.24.    Through a three-pronged strategy of increased production, decreased prices,

2    and by coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable
3
     product. In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other
4
     herbicides by a margin of five to one, and accounting for close to half of Monsanto’s
5
     revenue. 15 Today, glyphosate remains one of the world's largest herbicides by sales volume.
6
     Monsanto has known for decades that it falsely advertises the safety of Roundup®
7

8           3.25.    In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

9    Monsanto based on its false and misleading advertising of Roundup products. Specifically,
10   the lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based
11
     herbicides, including Roundup, were “safer than table salt” and "practically non-toxic" to
12
     mammals, birds, and fish. Among the representations the NYAG found deceptive and
13
     misleading about the human and environmental safety of Roundup are the following:
14

15                   a) Remember that environmentally friendly Roundup herbicide is
                     biodegradable. It won't build up in the soil so you can use
16                   Roundup with confidence along customers' driveways, sidewalks
                     and fences ...
17
                     b) And remember that Roundup is biodegradable and won't build
18                   up in the soil. That will give you the environmental confidence you need to
19                   use Roundup everywhere you've got a weed, brush, edging or trimming
                     problem.
20
                     c) Roundup biodegrades into naturally occurring elements.
21
                     d) Remember that versatile Roundup herbicide stays where you put
22                   it. That means there's no washing or leaching to harm customers'
23                   shrubs or other desirable vegetation.

24

25   15
       David Barboza, The Power of Roundup; A Weed Killer Is A Block for Monsanto to Build On, N.Y. Times,
26    Aug. 2, 2001, available at http://www.nytimes.com/2001/08/02/business/the-power-of-roundup-a-weed-
      killeris-a-block-for-monsanto-to-build-on.html.




                                                                SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                  10                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 11 of 33




1                    e) This non-residual herbicide will not wash or leach in the soil. It … stays
                     where you apply it.
2
                     f) You can apply Roundup with “confidence because it will stay where you
3
                     put it” it bonds tightly to soil particles, preventing leaching. Then, soon after
4                    application, soil microorganism’s biodegrade Roundup into natural products.

5                    g) Glyphosate is less toxic to rats than table salt following acute
                     oral ingestion.
6
                     h) Glyphosate's safety margin is much greater than required. It has over a
7
                     1,000-fold safety margin in food and over a 700-fold safety margin for
8                    workers who manufacture it or use it.

9                    i) You can feel good about using herbicides by Monsanto. They carry a
                     toxicity category rating of 'practically non-toxic' as it pertains to mammals,
10                   birds and fish.
11
                     j) “Roundup can be used where kids and pets will play and breaks down into
12                   natural material.” This ad depicts a person with his head in the ground and a
                     pet dog standing in an area which has been treated with Roundup®.16
13
            3.26.    On November 19, 1996, Monsanto entered into an Assurance of
14

15   Discontinuance with NYAG, in which Monsanto agreed, among other things, “to cease and

16   desist from publishing or broadcasting any advertisements [in New York] that represent,

17   directly or by implication” that:
18                   a) its glyphosate-containing pesticide products or any component thereof are
19                   safe, non-toxic, harmless or free from risk.

20                   b) its glyphosate-containing pesticide products or any component thereof
                     manufactured, formulated, distributed or sold by Monsanto are biodegradable.
21
                     c) its glyphosate-containing pesticide products or any component thereof stay
22                   where they are applied under all circumstances and will not move through the
23                   environment by any means.

24

25
     16
26    Attorney General of the State of New York, in the Matter of Monsanto Company, Assurance of
      Discontinuance Pursuant to Executive Law § 63(15) (Nov. 1996).




                                                                SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                  11                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 12 of 33




1                    d) its glyphosate-containing pesticide products or any component thereof are
                     "good" for the environment or are "known for their environmental
2                    characteristics."
3
                     e) glyphosate-containing pesticide products or any component thereof are
4                    safer or less toxic than common consumer products other than herbicides.

5                    f) its glyphosate-containing products or any component thereof might be
                     classified as "practically non-toxic."
6
             3.27.   Monsanto did not alter its advertising in the same manner in any state other
7

8    than New York, and on information and belief still has not done so today.

9            3.28.   In 2009, France’s highest court ruled that Monsanto had not told the truth
10   about the safety of Roundup®. The French court affirmed an earlier judgment that Monsanto
11
     had falsely advertised its herbicide Roundup® as “biodegradable” and that it “left the soil
12
     clean.” 17
13

14

15   Classifications and Assessments of Glyphosate

16           3.29.   The IARC process for the classification of glyphosate followed the stringent

17   procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program
18   has reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1
19
     (Known Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens);
20
     287 agents to be Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not
21
     Classified); and one agent to be Probably Not Carcinogenic.
22

23

24

25
     17
26     Monsanto Guilty in ‘False Ad’ Row, BBC, Oct. 15, 2009, available at
      http://news.bbc.co.uk/2/hi/europe/8308903.stm.




                                                                  SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                   12                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                          Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 13 of 33




1            3.30.   The established procedure for IARC Monograph evaluations is described in

2    the IARC Programme’s Preamble. 18 Evaluations are performed by panels of international
3
     experts, selected on the basis of their expertise and the absence of actual or apparent conflicts
4
     of interest.
5
             3.31.   One year before the Monograph meeting, the meeting is announced and there
6
     is a call both for data and for experts. Eight months before the Monograph meeting, the
7

8    Working Group membership is selected and the sections of the Monograph are developed by

9    the Working Group members. One month prior to the Monograph meeting, the call for data is
10   closed and the various draft sections are distributed among Working Group members for
11
     review and comment. Finally, at the Monograph meeting, the Working Group finalizes
12
     review of all literature, evaluates the evidence in each category, and completes the overall
13
     evaluation. Within two weeks after the Monograph meeting, the summary of the Working
14

15   Group findings is published in The Lancet Oncology, and within a year after the meeting, the

16   final Monograph is finalized and published.

17           3.32.   In assessing an agent, the IARC Working Group reviews the following
18   information:      (a) human, experimental, and mechanistic data; (b) all pertinent
19
     epidemiological studies and cancer bioassays; and (c) representative mechanistic data. The
20
     studies must be publicly available and have sufficient detail for meaningful review, and
21
     reviewers cannot be associated with the underlying study.
22

23

24

25
     18
26     World Health Org., IARC Monographs on the Evaluation of Carcinogenic Risks to Humans: Preamble (2006),
      available at http://monographs.iarc.fr/ENG/Preamble/CurrentPreamble.pdf.




                                                                SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                  13                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 14 of 33




1           3.33.   In March 2015, IARC reassessed glyphosate. The summary published in The

2    Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in
3
     humans.
4
            3.34.   On July 29, 2015, IARC issued its Monograph for glyphosate in Volume 112.
5
     For the volume that assessed glyphosate, a Working Group of 17 experts from 11 countries
6
     met at IARC from March 3–10, 2015, to assess the carcinogenicity of certain herbicides,
7

8    including glyphosate. The March meeting culminated nearly a one-year review and

9    preparation by the IARC Secretariat and the Working Group, including a comprehensive
10   review of the latest available scientific evidence. According to published procedures, the
11
     Working Group considered “reports that have been published or accepted for publication in
12
     the openly available scientific literature” as well as “data from governmental reports that are
13
     publicly available.”
14

15          3.35.   The studies considered the following exposure groups: occupational exposure

16   of farmers and tree nursery workers in the United States, forestry workers in Canada and

17   Finland, and municipal weed-control workers in the United Kingdom; and para-occupational
18   exposure in farming families.
19
            3.36.   Glyphosate was identified as the second-most used household herbicide in the
20
     United States for weed control between 2001 and 2007 and the most heavily used herbicide
21
     in the world in 2012.
22

23          3.37.   Exposure pathways are identified as air (especially during spraying), water,

24   and food. Community exposure to glyphosate is widespread and found in soil, air, surface

25   water, and groundwater, as well as in food.
26




                                                           SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES               14                 500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 15 of 33




1            3.38.     The assessment of the IARC Working Group identified several case control

2    studies of occupational exposure in the United States, Canada, and Sweden. These studies
3
     show a human health concern from agricultural and other work-related exposure to
4
     glyphosate.
5
             3.39.     The IARC Working Group found an increased risk between exposure to
6
     glyphosate and non-Hodgkin’s lymphoma (“NHL”) and several subtypes of NHL, and the
7

8    increased risk persisted after adjustment for other pesticides.

9            3.40.     The IARC Working Group also found that glyphosate caused DNA and
10   chromosomal damage in human cells. One study in community residents reported increases
11
     in blood markers of chromosomal damage (micronuclei) after glyphosate formulations were
12
     sprayed.
13
             3.41.     In male CD-1 mice, glyphosate induced a positive trend in the incidence of a
14

15   rare tumor, renal tubule carcinoma. A second study reported a positive trend for

16   haemangiosarcoma in male mice. Glyphosate increased pancreatic islet-cell adenoma in male

17   rats in two studies. A glyphosate formulation promoted skin tumors in an initiation-
18   promotion study in mice.
19
             3.42.     The IARC Working Group also noted that glyphosate has been detected in the
20
     urine of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to
21
     aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests
22

23   intestinal microbial metabolism in humans.

24           3.43.     The IARC Working Group further found that glyphosate and glyphosate

25   formulations induced DNA and chromosomal damage in mammals, and in human and animal
26
     cells in utero.



                                                             SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                15                  500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                     Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 16 of 33




1            3.44.    The IARC Working Group also noted genotoxic, hormonal, and enzymatic

2    effects in mammals exposed to glyphosate.19 Essentially, glyphosate inhibits the biosynthesis
3
     of aromatic amino acids, which leads to several metabolic disturbances, including the
4
     inhibition of protein and secondary product biosynthesis and general metabolic disruption.
5
             3.45.    The IARC Working Group also reviewed an Agricultural Health Study,
6
     consisting of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North
7

8    Carolina. 20 While this study differed from others in that it was based on a self-administered

9    questionnaire, the results support an association between glyphosate exposure and Multiple
10   Myeloma, Hairy Cell Leukemia (HCL), and Chronic Lymphocytic Leukemia (CLL), in
11
     addition to several other cancers.
12
     Other Earlier Findings about Glyphosate’s Dangers to Human Health
13
             3.46.    The EPA has a technical fact sheet, as part of its Drinking Water and Health,
14

15   National Primary Drinking Water Regulations publication, relating to glyphosate. This

16   technical fact sheet predates the IARC March 20, 2015, evaluation. The fact sheet describes

17   the release patterns for glyphosate as follows:
18           Release Patterns
19
             Glyphosate is released to the environment in its use as an herbicide for
20           controlling woody and herbaceous weeds on forestry, right-of-way, cropped
             and non-cropped sites. These sites may be around water and in wetlands.
21
             It may also be released to the environment during its manufacture,
22           formulation, transport, storage, disposal, and cleanup, and from spills. Since
23
     19
24      Guyton et al., Carcinogenicity of Tetrachlorvinphos, Parathion, Malathion, Diazinon & Glyphosate, supra at
       77.
     20
25      Anneclare J. De Roos et al., Cancer Incidence Among Glyphosate-Exposed Pesticide Applicators in the
       Agricultural Health Study, 113 Envt’l Health Perspectives 49-54 (2005), available at
26     http://www.ncbi.nlm.nih.gov/pmc/articles/PMC1253709/pdf/ehp0113-000049.pdf.




                                                                   SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                    16                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                           Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 17 of 33




1            glyphosate is not a listed chemical in the Toxics Release Inventory, data on
             releases during its manufacture and handling are not available.
2
             Occupational workers and home gardeners may be exposed to glyphosate by
3
             inhalation and dermal contact during spraying, mixing, and cleanup. They
4            may also be exposed by touching soil and plants to which glyphosate was
             applied. Occupational exposure may also occur during glyphosate's
5            manufacture, transport storage, and disposal. 21

6            3.47.    In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in
7
     California, the state with the most comprehensive program for reporting of pesticide-caused
8
     illness, glyphosate was the third most commonly-reported cause of pesticide illness among
9
     agricultural workers.22
10
     The Toxicity of Other Ingredients in Roundup®
11

12           3.48.    In addition to the toxicity of the active ingredient, glyphosate, several studies

13   support the hypothesis that the glyphosate-based formulation in Defendant’s Roundup®
14   products is more dangerous and toxic than glyphosate alone. Indeed, as early as 1991,
15
     available evidence demonstrated that glyphosate formulations were significantly more toxic
16
     than glyphosate alone.23
17
             3.49.    In 2002, a study by Julie Marc entitled “Pesticide Roundup Provokes Cell
18

19   Division Dysfunction at the Level of CDK 1/ Cyclin B Activation,” revealed Roundup ®

20

21

22

23   21
        U.S. Envtl. Prot. Agency, Technical Factsheet on: Glyphosate, supra.
     22
24      Caroline Cox, Glyphosate, Part 2: Human Exposure and Ecological Effects, 15 J. PESTICIDE REFORM 4
       (1995); W.S. Peas et al., Preventing pesticide-related illness in California agriculture: Strategies and
25     priorities. Environmental Health Policy Program Report, Univ. of Cal. School of Public Health, Calif. Policy
       Seminar (1993).
     23
26      Martinez, T.T. and K. Brown, Oral and pulmonary toxicology of the surfactant used in Roundup herbicide,
       PROC. WEST. PHARMACOL. SOC. 34:43-46 (1991).




                                                                    SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                     17                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                            Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 18 of 33




1    causes delays in the cell cycles of sea urchins but that the same concentrations of glyphosate

2    alone were ineffective and did not alter cell cycles.24
3
             3.50.     A 2004 study by Marc and others, entitled “Glyphosate-based pesticides affect
4
     cell cycle regulation,” demonstrated a molecular link between glyphosate-based products and
5
     cell cycle dysregulation. The researchers noted that “[c]ell cycle dysregulation is a hallmark
6
     of tumor cells and human cancer. Failure in the cell cycle checkpoints leads genomic
7

8    instability and subsequent development of cancer from the initial affected cell.” Further,

9    “[s]ince cell cycle disorders such as cancer result from dysfunction of a unique cell, it was of
10   interest to evaluate the threshold dose of glyphosate affecting the cells.” 25
11
             3.51.     In 2005, a study by Francisco Peixoto, entitled “Comparative effects of the
12
     Roundup and glyphosate on mitochondrial oxidative phosphorylation,” demonstrated that
13
     Roundup®’s effects on rat liver mitochondria are far more toxic than equal concentrations of
14

15   glyphosate alone. The Peixoto study further suggested that the harmful effects of Roundup®

16   on mitochondrial bioenergetics could not be exclusively attributed to glyphosate but could be

17   the result of result of other chemicals, such as the surfactant POEA, or the alternative, due to
18   potential synergic effect between glyphosate and other ingredients in the Roundup ®
19
     formulation. 26
20

21

22   24
        Julie Marc, et al., Pesticide Roundup Provokes Cell Division Dysfunction at the Level of CDK1/Cyclin B
23     Activation, 15 CHEM. RES. TOXICOL. 326-331 (2002), available at
       http://pubs.acs.org/doi/full/10.1021/tx015543g.
     25
24      Julie Marc, et al., Glyphosate-based pesticides affect cell cycle regulation, 96 BIOLOGY OF
      THE CELL 245, 245-249 (2004), available at
25     http://onlinelibrary.wiley.com/doi/10.1016/j.biolcel.2003.11.010/epdf.
     26
        Francisco Peixoto, Comparative effects of the Roundup and glyphosate on mitochondrial oxidative
26     phosphorylation, 61 CHEMOSPHERE 1115, 1122 (2005), available at http://www.ask-
       force.org/web/Seralini/Peixoto-Comparative-Effects-RR-Glyphosate-2006.pdf.




                                                                    SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                    18                     500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                            Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 19 of 33




1           3.52.    In 2009, Nora Benachour and Gilles-Eric Seralini published a study

2    examining the effects of Roundup® and glyphosate that were far below agricultural
3
     recommendations, corresponding with low levels of residue in food. The researchers
4
     ultimately concluded that supposed “inert” ingredients, and possibly POEA, alter human cell
5
     permeability and amplify toxicity of glyphosate alone. The researchers further suggested that
6
     assessments of the glyphosate toxicity should account for the presence of adjuvants or
7

8    additional chemicals used in the formulation of the complete pesticide. The study confirmed

9    that the adjuvants present in Roundup® are not, in fact, inert and that Roundup® is potentially
10   far more toxic than its active ingredient glyphosate alone.27
11
     Recent Worldwide Bans on Roundup®/Glyphosate
12
            3.53.    Several countries around the world have instituted bans on the sale of
13
     Roundup® and other glyphosate-containing herbicides, both before and since IARC first
14

15   announced its assessment for glyphosate in March 2015, and more countries undoubtedly

16   will follow suit as the dangers of the use of Roundup® are more widely known. The

17   Netherlands issued a ban on all glyphosate-based herbicides in April 2014, including
18   Roundup®, which took effect by the end of 2015. In issuing the ban, the Dutch Parliament
19
     member who introduced the successful legislation stated: “Agricultural pesticides in user-
20
     friendly packaging are sold in abundance to private persons. In garden centers, Roundup® is
21
     promoted as harmless, but unsuspecting customers have no idea what the risks of this product
22

23

24

25   27
       Nora Benachour, et al., Glyphosate Formulations Induce Apoptosis and Necrosis in Human Umbilical,
26    Embryonic, and Placental Cells, 22 CHEM. RES. TOXICOL. 97-105 (2008), available at
      https://big.assets.huffingtonpost.com/france.pdf.




                                                                 SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                  19                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 20 of 33




1    are. Especially children are sensitive to toxic substances and should therefore not be exposed

2    to it.”28
3
                 3.54.   The Brazilian Public Prosecutor in the Federal District requested that the
4
     Brazilian Justice Department suspend the use of glyphosate.29
5
                 3.55.   France banned the private sale of Roundup® and glyphosate following the
6
     IARC assessment for glyphosate.30
7

8                3.56.   Bermuda banned both the private and commercial sale of glyphosates,

9    including Roundup®. The Bermuda government explained its ban as follows: “Following a
10   recent scientific study carried out by a leading cancer agency, the importation of weed spray
11
     ‘Roundup’ has been suspended.”31
12
                 3.57.   The Sri Lankan government banned the private and commercial use of
13
     glyphosates, particularly out of concern that glyphosate has been linked to fatal kidney
14

15   disease in agricultural workers.32

16

17

18   28
        Holland’s Parliament Bans Glyphosate Herbicides, The Real Agenda, April 14, 2014, available at
19     https://real-agenda.com/hollands-parliament-bans-glyphosate-herbicides/.
     29
        Christina Sarich, Brazil’s Public Prosecutor Wants to Ban Monsanto’s Chemicals Following
20    Recent Glyphosate-Cancer Link, GLOBAL RESEARCH, MAY 14, 2015, available at
      https://www.globalresearch.ca/brazils-public-prosecutor-wants-to-ban-monsantos-chemicals-following-recent-
21    glyphosate-cancer-link/5449440 ; see Ministério Público Federal, MPF/DF reforça pedido para que glifosato
      seja banido do Mercado nacional, April 14, 2015, available at http://noticias.pgr.mpf.mp.br/noticias/noticias-
22    do-site/copy_of_meio-ambiente-e-patrimonio-cultural/mpf-df-reforca-pedido-para-que-glifosato-seja-banido-
      do-mercado-nacional.
     30
23      Zoe Schlanger, France Bans Sales of Monsanto’s Roundup in Garden Centers, 3 Months After U.N. Calls it
       ‘Probable Carcinogen’, Newsweek, June 15, 2015, available at https://www.newsweek.com/france-bans-sale-
24     monsantos-roundup-garden-centers-after-un-names-it-probable-343311.
     31
        Minister: Importation of Roundup Suspended, Bernews, May 11, 2015, available at
25     http://bernews.com/2015/05/importation-weed-spray-round-suspended/.
     32
        Sri Lanka’s New President Puts Immediate Ban on Glyphosate Herbicides, Sustainable Pulse,
26   May 25, 2015, available at https://sustainablepulse.com/2015/05/25/sri-lankas-new-president-puts-immediate-
       ban-on-glyphosate-herbicides/#.XBgQlNtKgc0.




                                                                    SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                     20                     500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                             Phone (206) 622-8000 Fax (206) 682-2305
           Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 21 of 33




1            3.58.    The government of Columbia announced its ban on using Roundup® and

2    glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of
3
     the WHO’s finding that glyphosate is probably carcinogenic. 33
4
     Plaintiff’s Exposure to Roundup®
5
             3.59.    Steven Madsen used Roundup® and Roundup PRO® primarily in the spring
6
     and for 2-4 weeks per year and for approximately eight hours at a time while employed as a
7

8    maintenance worker for the City of Auburn, WA.

9            3.60.    During the course and scope of his employment from approximately 1973 to
10   2004, Mr. Madsen primarily applied Roundup® and Roundup PRO® with a 3- or 4-gallon
11
     backpack sprayer and with a tank mounted on a truck at Auburn’s multiple parks and city
12
     properties.
13
             3.61.    In the course and scope of his job, Mr. Madsen was often and regularly
14

15   exposed to Roundup® on his skin when mixing or applying Roundup® and Roundup PRO®,

16   including on his hands and back.

17           3.62.    During the course and scope of his employment, Mr. Madsen earned his
18   license to spray from Washington State University.
19
             3.63.    On information and belief, Mr. Madsen attended seminars by Monsanto in the
20
     1970s – 1980s at which he was told Roundup® was safe enough to drink and there was no
21
     need to wear a mask while applying it by.
22

23

24

25
     33
26      Columbia to ban coca spraying herbicide glyphosate, BBC, May 10, 2015, available at
     http://www.bbc.com/news/world-latin-america-32677411.




                                                                  SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                    21                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                          Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 22 of 33




1             3.64.   Steven Madsen used Roundup® and Roundup PRO® approximately 20 years

2    at his personal residence. Plaintiff purchased Roundup® and Roundup PRO® in its liquid
3
     form and applied it in Washington State.
4
              3.65.   Steven Madsen used Roundup® and Roundup PRO® 3-4 times a year in the in
5
     the spring, summer and fall; he sprayed in his yard for up to one hour at a time to control
6
     weeds.
7

8             3.66.   Mr. Madsen’s yard was approximately 0.6 acres in size. Plaintiff primarily

9    used a backpack sprayer and was often and regularly exposed to Roundup® and Roundup
10   PRO® on his skin, including on his hands and back.
11
              3.67.   On or around 2017, doctors diagnosed Steven Madsen with a subtype of T cell
12
     lymphoma, anaplastic large cell lymphoma, ALK positive, non-Hodgkin’s lymphoma. As a
13
     result of his injury, Mr. Madsen underwent EPOCH chemotherapy and he continues to see
14

15   his oncologist for regular follow-up care.

16            3.68.   During the entire time Steven Madsen was exposed to Roundup® and

17   Roundup PRO® during his employment and personal use, he did not know that exposure to
18   Roundup® and Roundup PRO® was injurious to his health or the health of others.
19
                      IV.   TOLLING OF THE STATUTE OF LIMITATIONS
20                               DISCOVERY RULE TOLLING

21            4.1.    The running of any statute of limitations has been tolled by reason of
22   Defendant’s fraudulent concealment. Defendant, through its affirmative misrepresentations
23
     and omissions, actively concealed from Plaintiff the true risks associated with Roundup ® and
24
     glyphosate.
25
              4.2.    At all relevant times, Defendant has maintained that Roundup® is safe, non-
26
     toxic, and non-carcinogenic.


                                                           SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES               22                500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                  Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 23 of 33




1           4.3.     Even as of July 2016, Defendant continued to represent to the public that

2    “Regulatory authorities and independent experts around the world have reviewed numerous
3
     long-term/carcinogenicity and genotoxicity studies and agree that there is no evidence that
4
     glyphosate, the active ingredient in Roundup ® brand herbicides and other glyphosate-based
5
     herbicides, causes cancer, even at very high doses, and that it is not genotoxic.34
6
            4.4.     As a result of Defendant’s actions, Plaintiffs were unaware, and could not
7

8    reasonably know or have learned through reasonable diligence that Roundup® and/or

9    glyphosate contact, exposed Plaintiff Steven Madsen to the risks alleged herein and that those
10   risks were the direct and proximate result of Defendant’s acts and omissions.
11
            4.5.     Furthermore, Defendant is estopped from relying on any statute of limitations
12
     because of its fraudulent concealment of the true character, quality and nature of Roundup ®.
13
     Defendant was under a duty to disclose the true character, quality, and nature of Roundup ®
14

15   because this was non-public information over which Defendant had and continues to have

16   exclusive control, and because Defendant knew that this information was not available to

17   Plaintiff or to distributors of Roundup®. In addition, Defendant is estopped from relying on
18   any statute of limitations because of its intentional concealment of these facts.
19
            4.6.     Plaintiffs had no knowledge that Defendant was engaged in the wrongdoing
20
     alleged herein. Because of the fraudulent acts of concealment of wrongdoing by Defendant,
21
     Plaintiffs could not have reasonably discovered the wrongdoing at any time prior. Also, the
22

23   economics of this fraud should be considered. Defendant had the ability to and did spend

24   enormous amounts of money in furtherance of its purpose of marketing, promoting and/or

25
     34
26     Backgrounder – Glyphosate: No Evidence of Carcinogenicity, Updated November 2014, available at
      https://www.monsantoglobal.com/global/jp/products/Documents/no-evidence-of-carcinogenicity.pdf.




                                                                SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                  23                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 24 of 33




1    distributing a profitable herbicide, notwithstanding the known or reasonably known risks.

2    Plaintiffs and medical professionals could not have afforded and could not have possibly
3
     conducted studies to determine the nature, extent, and identity of related health risks, and
4
     were forced to rely on only the Defendant’s representations. Accordingly, Defendant is
5
     precluded by the discovery rule and/or the doctrine of fraudulent concealment from relying
6
     upon any statute of limitations.
7

8                                  V.        CAUSE OF ACTION

9                                        CLAIM ONE
                               WASHINGTON PRODUCT LIABILITY ACT
10
            5.1.    Plaintiffs hereby incorporates by reference the allegations of this Complaint
11

12   contained in each of the preceding paragraphs as if fully stated herein.

13          5.2.    At all times relevant to this litigation, Defendant engaged in the business of

14   testing, developing, designing, manufacturing, marketing, selling, distributing, and
15
     promoting Roundup® products.
16
            5.3.    At all times relevant to this litigation, Defendant designed, researched,
17
     developed, manufactured, produced, tested, assembled, labeled, advertised, promoted,
18
     marketed, sold, and distributed the Roundup® products used by Plaintiff as described above.
19

20          5.4.    At all times relevant to this litigation, Defendant’s Roundup ® products were

21   expected to reach and did reach the intended consumers, handlers, and users or other
22   persons coming into contact with these products in Washington and throughout the United
23
     States, including Mr. Madsen, without substantial change in their condition as designed,
24
     manufactured, sold, distributed, labeled, and marketed by Defendant.
25
            5.5.    In violation of the Washington Products Liability Act (“WPLA”), RCW 7.72,
26
     et seq., at all times relevant to this action, at the time Defendant’s Roundup® products left


                                                           SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES              24                  500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
         Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 25 of 33




1    control of Defendant, they were defective and not reasonably safe. These defects include,

2    but are not limited to, the following:
3
                  i. Defendant is strictly liable to Plaintiff Steven Madsen for his injuries and
4
                     damages because at the time of manufacture, and at the time Defendant’s
5
                     Roundup® products left control of Defendant, the likelihood that
6
                     Defendant’s Roundup® products would cause injury or damage similar to
7

8                    that suffered by Plaintiff, and the seriousness of such injury or damage had

9                    been known by Defendant and outweighed the burden on Defendant to
10                   design a product that would have prevented Plaintiff’s injuries and damages
11
                     and outweighed the adverse effect that an alternative design that was
12
                     practical and feasible would have on the usefulness of the subject product.
13
                 ii. Defendant’s Roundup® products were unsafe to an extent beyond that which
14

15                   would be contemplated by an ordinary consumer, in one or more of the

16                   following particulars: exposure to Roundup® and specifically, its active

17                   ingredient glyphosate, could result in cancer and other severe illnesses and
18                   injuries, making Roundup® not reasonably safe when used in the way it is
19
                     ordinarily used and is dangerous to an extent beyond that which would be
20
                     contemplated by the ordinary consumer.
21
                iii. The Roundup® products manufactured and/or supplied by Defendant were
22

23                   defective in design in that, an alternative design and/or formulation exists

24                   that would prevent severe and permanent injury. Indeed, at the time that

25                   Defendant designed its Roundup® products, the state of the industry’s
26




                                                          SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES               25                500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                  Phone (206) 622-8000 Fax (206) 682-2305
        Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 26 of 33




1                scientific knowledge was such that a less risky design or formulation was

2                attainable.
3
             iv. The Roundup® products were not reasonably safe in design under the
4
                 WPLA.
5
              v. The Roundup® products manufactured and/or supplied by Defendant was
6
                 not reasonably safe because Defendant did not provide an adequate warning
7

8                or instruction about the product. At the time the Roundup® products left

9                Defendant’s control, they possessed dangerous characteristics, and
10               Defendant failed to use reasonable care to provide an adequate warning of
11
                 such characteristics and their danger to users and handlers of the product.
12
                 The Roundup® products are not safe and cause severe and permanent
13
                 injuries. The Roundup® products were not reasonably safe because the
14

15               warning was inadequate and Defendant could have provided adequate

16               warnings or instructions.

17           vi. The Roundup® products manufactured and/or supplied by Defendant were
18               not reasonably safe because adequate warnings or manufacturer instructions
19
                 were not provided after the Roundup® products were manufactured and
20
                 when Defendant learned of, or should have learned of, the dangers
21
                 connected with the Roundup® products.
22

23          vii. The Roundup® products manufactured and/or supplied by Defendant were

24               not reasonably safe because they did not conform to an express warranty

25               made by Defendant regarding the product’s safety and fitness for use.
26
                 Defendant expressly warranted that the Roundup® products were safe and fit



                                                     SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES         26                500 Central Building 810 Third Avenue Seattle, WA 98104
                                                            Phone (206) 622-8000 Fax (206) 682-2305
         Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 27 of 33




1                    for their intended purposes, that they were of merchantable quality, that they

2                    did not produce any dangerous side effects, that they were adequately tested,
3
                     and that their Roundup® products were safe to human health and the
4
                     environment, and effective, fit, and proper for their intended use. Defendant
5
                     did not disclose the material risks that Defendant’s Roundup® products
6
                     could cause severe and permanent injury. Defendant’s express warranty
7

8                    regarding the Roundup® products induced Plaintiff Steven Madsen to use

9                    the products, and Plaintiff’s damage was proximately caused because
10                   Defendant’s express warranty was untrue. The Roundup® products were not
11
                     reasonably safe because of nonconformity to express warranty under the
12
                     WPLA.
13
           5.6.    As a direct and proximate result of Defendant placing its defective Roundup®
14

15   products into the stream of commerce, Plaintiff Steven Madsen has suffered and continues

16   to suffer grave injuries, and has endured physical pain and discomfort, as well as economic

17   hardship, including considerable financial expenses for medical care and treatment. Plaintiff
18   will continue to incur these expenses in the future.
19
                                      CLAIM TWO
20                           BREACH OF IMPLIED WARRANTIES
21
           5.7.    Plaintiffs hereby incorporate by reference the allegations of this Complaint
22
     contained in each of the preceding paragraphs as if fully stated herein.
23
           5.8.    At all times relevant to this litigation, Defendant engaged in the business of
24

25   testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting

26   its Roundup® products, which are defective and unreasonably dangerous to consumers,




                                                            SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES              27                  500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
         Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 28 of 33




1    including Plaintiff Steven Madsen, thereby placing Roundup® products into the stream of

2    commerce. These actions were under the ultimate control and supervision of Defendant.
3
            5.9.    Before the time that Plaintiff Steven Madsen was exposed to the use of the
4
     aforementioned Roundup® products, Defendant impliedly warranted to its consumers—
5
     including Plaintiff’s employer—that its Roundup® products were of merchantable quality
6
     and safe and fit for the use for which they were intended; specifically, as agricultural and
7

8    horticultural herbicides.

9           5.10.   Defendant, however, failed to disclose that Roundup® has dangerous
10   propensities when used as intended and that the use of and/or exposure to Roundup ® and
11
     glyphosate-containing products carries an increased risk of developing severe injuries,
12
     including Plaintiff’s injuries.
13
            5.11.   Upon information and belief, Plaintiff Steven Madsen and his employer
14

15   reasonably relied upon the skill, superior knowledge and judgment of Defendant and upon

16   its implied warranties that the Roundup® products were of merchantable quality and fit for

17   their intended purpose or use.
18          5.12.   Upon information and belief, Plaintiff Steven Madsen and his employer were
19
     at all relevant times in privity with Defendant.
20
            5.13.   Plaintiff Steven Madsen is the intended third-party beneficiary of implied
21
     warranties made by Defendant to the purchasers of its agricultural and horticultural
22

23   herbicides, including the company that employed Plaintiff, and as such Plaintiff is entitled

24   to assert this claim.

25

26




                                                         SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES              28                500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                 Phone (206) 622-8000 Fax (206) 682-2305
         Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 29 of 33




1          5.14.   The Roundup® products were expected to reach and did in fact reach

2    consumers and users, including Plaintiff Steven Madsen, without substantial change in the
3
     condition in which they were manufactured and sold by Defendant.
4
           5.15.   At all times relevant to this litigation, Defendant was aware that consumers
5
     and users of its products, including Plaintiff Steven Madsen, would use Roundup ® products
6
     as marketed by Defendant, which is to say that Plaintiff was a foreseeable user of
7

8    Roundup®.

9          5.16.   Defendant intended that its Roundup® products be used in the manner in
10   which Plaintiff Steven Madsen in fact used them and Defendant impliedly warranted each
11
     product to be of merchantable quality, safe, and fit for this use, despite the fact that
12
     Roundup® was not adequately tested or researched.
13
           5.17.   In reliance upon Defendant’s implied warranty, Plaintiff Steven Madsen used
14

15   Roundup® as instructed and labeled and in the foreseeable manner intended, recommended,

16   promoted, and marketed by Defendants.

17         5.18.   Neither Plaintiff Steven Madsen nor his employer could have reasonably
18   discovered or known of the risks of serious injury associated with Roundup® or glyphosate.
19
           5.19.   Defendant breached its implied warranty to Plaintiff Steven Madsen in that its
20
     Roundup® products were not of merchantable quality, safe, or fit for their intended use, or
21
     adequately tested. Roundup® has dangerous propensities when used as intended and can
22

23   cause serious injuries, including those injuries complained of herein.

24         5.20.   The harm caused by Defendant’s Roundup® products far outweighed their

25   benefit, rendering the products more dangerous than an ordinary consumer or user would
26
     expect and more dangerous than alternative products.



                                                           SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES              29                  500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
         Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 30 of 33




1          5.21.   As a direct and proximate result of Defendant’s wrongful acts and omissions

2    Plaintiff Steven Madsen has suffered severe and permanent physical and emotional injuries.
3
     Plaintiff has endured pain and suffering, has suffered economic loss (including significant
4
     expenses for medical care and treatment) and will continue to incur these expenses in the
5
     future.
6

7                                           CLAIM THREE

8              VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT

9          5.22.   Plaintiffs hereby incorporate by reference the allegations of this Complaint
10
     contained in each of the preceding paragraphs as if fully stated herein.
11
           5.23.   Defendant violated the Washington Consumer Protection Act (“CPA”).
12
           5.24.   Defendant engaged in unfair or deceptive acts or practices including, but not
13

14   limited to, the following:

15                 a) engaging in acts and practices by willfully failing and refusing to timely
16
                   report information that reasonably suggested Roundup®, like that used by
17
                   Plaintiff Steven Madsen, may cause or contribute to cause cancer and other
18
                   serious illnesses;
19
                   b)   representing knowingly or with reason to know that Roundup® has
20

21                 approval, characteristics, uses, or benefits that it does not have;

22                 c) representing knowingly or with reason to know that Roundup ® is of a
23                 particular standard, quality, or grade when it differs materially from that
24
                   representation; and/or
25
                   d) representing knowingly or with reason to know that Roundup® has uses,
26
                   benefits, or characteristics that have been otherwise proven incorrect;


                                                            SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES              30                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                    Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 31 of 33




1           5.25.   Defendant’s unfair and deceptive acts or practices described above were

2    committed in the course of Defendant’s trade or commerce.
3
            5.26.   Defendant’s unfair and deceptive acts or practices described above affected
4
     public interest.
5
            5.27.   Defendant’s violation of the Washington CPA, whether individually or in
6
     combination, caused Plaintiff’s injuries and damages set forth herein.
7

8                                  VI.   PUNITIVE DAMAGES

9           6.1.    Plaintiffs incorporate herein by reference, as though fully set forth at length,

10   each and every allegation and statement contained in the foregoing paragraphs.
11          6.2.    Defendant is liable for punitive and/or exemplary damages under choice of
12
     law principles. Defendant acted with willful disregard of the rights of the Plaintiffs and the
13
     public. Defendant’s conduct was outrageous and reckless toward the safety of the Plaintiff
14
     Steven Madsen and the public.
15

16                                       VII. DAMAGES

17          7.1.    Plaintiffs incorporate herein by reference, as though fully set forth at length,

18   each and every allegation and statement contained in the foregoing paragraphs.
19          7.2.    As a direct and proximate result of Defendant’s tortious conduct and breach of
20
     duties as set forth herein, Steven Madsen sustained serious injuries to include a subtype of T
21

22   cell lymphoma called ACLC, ALK-positive.

23          7.3.    The serious injuries sustained by Steven Madsen are painful, permanent, and
24
     disabling, and have necessitated extensive medical care and treatment in the past and will
25
     continue to necessitate extensive medical care and treatment in the future.
26




                                                           SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES               31                 500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
          Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 32 of 33




1           7.4.    As a direct and proximate result of his serious injuries, Steven Madsen has

2    sustained pain and suffering, both physical and mental, and with reasonable probability will
3
     continue to experience pain and suffering, both physical and mental, in the future.
4
            7.5.    As a further direct and proximate result of his injuries, Steven Madsen has
5
     sustained disability, and loss of enjoyment of life, and will continue to sustain disability and
6
     loss of enjoyment of life in the future.
7

8           7.6.    As a further direct and proximate result of his injuries, Steven Madsen has

9    sustained medical expenses, out of pocket expenses, and costs. With reasonable probability,
10   he will continue to sustain medical expenses, life care expenses, and other out of pocket costs
11
     and expenses in the future as a result of his serious injuries.
12
            7.7.    As a direct and proximate result of Defendants’ tortious conduct and breach of
13
     duties as set forth herein, Diana Madsen, spouse of Steven Madsen, has sustained and will
14

15   continue to sustain a loss of consortium and related damages.

16          7.8.    Plaintiffs are entitled to damages in an amount to be proved at trial, together

17   with interest thereon and costs.
18          7.9.    WHEREFORE, Plaintiffs pray for judgment against Defendant, and each of
19
     them, as hereinafter set forth.
20

21
                                   VIII. PRAYER FOR RELIEF
22
            WHEREFORE, Plaintiffs pray for judgment and relief against the Defendant as
23

24   follows:

25          8.1.    General damages, in an amount to be proven at the time of trial;
26




                                                              SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                32                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                      Phone (206) 622-8000 Fax (206) 682-2305
        Case 2:19-cv-00723-BJR Document 1 Filed 05/14/19 Page 33 of 33




1        8.2.   Special damages to be shown at the time of trial, including all pre-judgment

2               interest allowed by law;
3
         8.3.   Punitive damages according to proof at the time of trial;
4
         8.4.   Treble damages in the maximum amounts permitted by RCW 19.86.090;
5
         8.5.   Costs including reasonable attorney’s fees court costs and other litigation
6
                expenses; and
7

8        8.6.   Any other further relief as the Court deems just and proper.

9                               IX.   JURY TRIAL DEMAND
10       Plaintiff demands a trial by jury on all of the triable issues within this Complaint.
11

12
         DATED this 14th day of May, 2019.
13
                                                SCHROETER, GOLDMARK & BENDER
14
                                                s/ Elizabeth McLafferty
15
                                                s/ Sims G. Weymuller
16                                              SIMS WEYMULLER, WSBA #33026
                                                ELIZABETH MCLAFFERTY, WSBA #45291
17                                              Counsel for Plaintiff
                                                SCHROETER GOLDMARK & BENDER
18                                              810 Third Avenue, Suite 500
                                                Seattle, WA 98104
19
                                                Phone: (206) 622-8000
20                                              Fax: (206) 682-2305
                                                Email: sims@sgb-law.com
21                                                       mclafferty@sgb-law.com
22

23

24

25

26




                                                         SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES            33                  500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                 Phone (206) 622-8000 Fax (206) 682-2305
